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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                  No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                 Defendant.


   DEFENDANT EDWARD VALLEJO’S SUPPLEMENT IN AID OF SENTENCING

       At a hearing on May 31, 2023, the Court raised the question of whether the jury’s verdict

necessarily reflected its adoption of the government’s theory regarding Mr. Vallejo’s role or

conduct within the conspiracy, and particularly whether he could be found to have joined a

conspiracy to interrupt the certification without a finding that he specifically offered to bring

weapons into the Capitol. Because of the importance of that question for Mr. Vallejo’s sentencing,

he respectfully submits the following additional record citations relevant to this question.


       1.      In its opening and closing argument, the government argued that Vallejo’s words

prior to coming to Washington, D.C. showed that he had joined a general conspiracy to “stop the

transfer of presidential power” as early as “on the way” to Washington, D.C. See, e.g., Tr. 901:22–

902:1 (“On his way across the country, Edward Vallejo messaged about their historic mission to

fight what he called tyranny. Democrats he said were doomed. Vallejo was ready too. They were

ready to use force to stop the transfer of presidential power.”); Tr. 905:10–906:17 (“You will see

that by early January 2021 these defendants and their co-conspirators came together and descended

upon Washington, D.C. They joined together as part of the same conspiracy.”); Tr. 4386:6–19

(“As November turned into December…Rhodes penned an open letter to the President….These
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calls were Rhodes’ invitation to sedition. Defendant Vallejo, Minuta, Moerschel, and Vallejo [sic],

you know they agreed by their words and their actions.”) (emphasis added); Tr. 4389:9–18 (“And

Vallejo and his Arizona counterpart reached out to Rhodes about the plan. You know Vallejo

agreed in part because he circulated that Hagmann Report, the same report that Meggs circulated.”)

(emphasis added); Tr. 4400:9–22 (“Remember what else Jessica Watkins said on that Zello

recording….This is the same language, the same sentiment, that Hackett used with members of

the Florida Oath Keepers in a chat that included Stewart Rhodes….This is the same language

Vallejo circulated in The Hagmann Report. It’s an agreement and force meeting.”). If the jury

credited this argument, no further findings were necessary. As the Court stated in its Rule 29 ruling,

the jury could have determined that it was reasonably foreseeable that some members of a

conspiracy to “stop the transfer of presidential power” would respond to the Capitol riot by

entering to stop the certification, making any such conduct attributable to Vallejo.1 Thus, under

the government’s argument and the Court’s instructions, the jury’s verdict may have been founded

on Vallejo’s general agreement with a conspiracy to stop the transfer of power alone, without

taking any view of his meaning in the 2:24 and 2:38 p.m. texts or his intent regarding firearms.


       2.      The government argued extensively that Mr. Vallejo’s podcast comments likewise

reflected his general intent to oppose the transfer of power by force and his joining of others in

such a conspiracy. See, e.g., Tr. 905:10–906:17 (“You will hear that Vallejo…echoed this

agreement on a podcast.”) (emphasis added); Tr. 914:15–20 (“You’ll hear that members of this

group started chanting, ‘Push, push, get in there. They can’t hold us.’ They had to get to the Senate

chamber. It was, as Vallejo had said earlier that day [on the podcast], guerilla war.”). The jury



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 Mr. Vallejo respectfully preserves his objection to this reasonable foreseeability analysis for
purposes of appeal.
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could have credited that argument and believed that Vallejo joined in a conspiracy “to stop the

transfer of presidential power” on the morning of January 6 without separately determining that

he had a specific role regarding weapons, especially given the extensive evidence that Vallejo

planned to go into Washington, D.C. on January 6 to look for his lost truck and was not intending

to be “staged” in Virginia. If the jury credited the government’s interpretation of Vallejo’s podcast

comments, then under the Court’s Rule 29 ruling, it could have determined that it was reasonably

foreseeable to Vallejo that members of the conspiracy would have interrupted the certification as

a manifestation of that conspiracy, regardless of whether it credited the government’s specific

argument regarding Vallejo’s role and its interpretation of the 2:24 p.m. and 2:38 p.m. texts.


       3.      Most importantly, the government argued that Vallejo’s express offers on the

afternoon of January 6 to “exfil” his coconspirators from the Capitol reflected a conspiratorial

“agreement.” TR. 4408–09. In its closing, it stated:

       [Vallejo wrote at] 4:49: “I have 2 pickups and 1 hour and 11 minutes to exfil,
       whomever needs it.” He’s outfitted and ready….The Capitol was finally secured
       between 4:30 and 5:00, according to the video. At that time now it was time to
       exfil. Vallejo needed to get his co-conspirators out to sprint them to safety, to aid
       them after they had breached. By the late afternoon, the guns wouldn’t do the
       objective. Congress had been resecured. But earlier, there’s no talk about exfil.
       It’s only after the Capitol has been resecured. Throughout all these messages, what
       do you see? Agreement.

Id. (emphasis added). As the government logically argued, if Vallejo knew his co-conspirators had

broken the law by trying to stop the certification, his willingness to “aid” them in getting away

from the scene of the crime could have been a basis to believe he had joined in the “agreement”

and supported its ends, even if jurors were skeptical of the government’s interpretation of the

earlier texts from 2:24 p.m. and 2:38 p.m. This is especially significant since Vallejo’s “exfil” texts

mirrored the language about “trucks” from his 2:38 p.m. text, giving the jury an alternative basis



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to convict even if it credited the defense argument that all of Vallejo’s “QRF” texts reflected

essentially the same “exfil” meaning.

       4.      Finally, the government argued that Vallejo’s enthusiastic messages on and after

January 6 showed that he had joined in the agreement. See, e.g., Tr. 4407:19–4408:1 (“Let’s turn

back to Vallejo now. When the Capitol fell, he celebrated in a message to back home in Arizona.

‘The people have taken the Capitol, and Congress is in bedlam and locked down.’”); Tr. 4414:17–

4415:14 (“[Vallejo says] ‘We will be back at 6:00 a.m. to do it again.’ ‘We,’ again, agreement.

‘We’ll be back at 6:00 a.m.’”). Thus, even if the jury believed that Vallejo was genuinely offering

to help “exfil” people at 2:24 p.m. and 2:38 p.m., it could have credited the government’s argument

that he at some point joined in the agreement and intended to help co-conspirators continue to

resist the transfer of power even if it meant regrouping and returning the next day.


                                          CONCLUSION

       There were multiple bases from which the jury could conclude that Vallejo joined an

agreement to oppose the transfer of presidential power that did not require it to credit—or even

consider—the government’s interpretation of Vallejo’s 2:24 p.m. and 2:38 p.m. messages.

Accordingly, Mr. Vallejo respectfully submits that the Court is not bound by the government’s

trial arguments regarding Mr. Vallejo’s meaning and intent regarding these messages and firearms

in general. Rather, the Court should be guided by the full record of evidence regarding any relevant

question that is not inherent in the verdict. Such independent consideration of the full record, which

Vallejo’s sentencing memorandum (ECF 571-1) attempted to organize and compile, by no means

involves relitigating Vallejo’s guilt vel non. Rather, it is an appropriate part of considering the true

“nature and circumstances” of the offense under 18 U.S.C. § 3553(a) within the bounds of the

jury’s verdict and the statutory sentencing range, as the Court is required to do.


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May 31, 2023                            Respectfully submitted,


                                        /s/ Matthew J. Peed .
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